
















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. PD-0379-09






BRIAN THOMAS KIRSCH, Appellant



v.



THE STATE OF TEXAS





ON APPELLANT'S PETITION FOR DISCRETIONARY REVIEW


FROM THE FIRST COURT OF APPEALS


HARRIS COUNTY





	Cochran, J., delivered the opinion of the Court in which Keller, P.J.,
Womack, Johnson, Keasler, Hervey and Holcomb, JJ., joined.  Price, J., filed a
dissenting opinion in which Meyers, J., joined.


OPINION 



	A jury convicted appellant of driving while intoxicated (DWI) and sentenced him to
45 days in jail.  Appellant contends that the court of appeals erred in upholding the trial
court's submission of a jury charge on per se intoxication by having an alcohol content in his
blood of 0.08 or more when the evidence of appellant's blood alcohol level was admitted
pursuant to a limiting instruction. (1)  We agree with the court of appeals that (1) the judge's
oral limiting instruction was improper, but (2) the totality of the evidence sufficed to permit
the jury to conclude that appellant had an alcohol concentration of 0.08 or more at the time
he was driving.  We therefore affirm the judgment of the court of appeals. 

I.  


	At approximately 3:00 a.m. on May 13, 2006, appellant, a Harris County deputy
sheriff, was involved in an automobile accident with a tractor-trailer in north Houston. 
Appellant had been working an extra job, patrolling the Pine Shadows neighborhood that
night in a patrol car.  As appellant drove southbound in the right-hand lane of the freeway
frontage road, Jesse Gomez, in his 18-wheel tractor-trailer, was ahead of appellant, preparing
to make a right-hand turn at the Airtex intersection.  Because of the size of his vehicle, Mr.
Gomez made a wide right turn from the center lane.  He testified that, before turning, he
checked his mirrors and saw appellant's patrol car about 300 feet behind him.  Deciding that
the patrol car was a safe distance away, Mr. Gomez turned on his right-turn signal, slowed
to approximately 15 m.p.h., and began his turn.  Mid-turn, Mr. Gomez felt an impact to the
side-rear portion of the trailer that caused his 78,000-pound trailer to skid sideways.  After
the trailer came to a rest, Mr. Gomez hurried to investigate the cause of the impact,
discovered appellant unconscious in his patrol car, and called 911.

	Responding paramedics took appellant to Ben Taub Hospital for treatment of a head
injury.  They did not notice any signs of intoxication or impairment on appellant because he
was unconscious, but one paramedic smelled alcohol in appellant's blood.  At the hospital,
appellant regained consciousness, but behaved belligerently.  Emergency-room personnel
described appellant as "lethargic, slurring, uncooperative, and unresponsive."  His medical
records stated that "upon arrival, patient was obviously intoxicated."  Those records also
described appellant as combative, destructive, and exhibiting poor impulse control, and
revealed that the physician had permitted a "4-point restraint" for "up to 8 hours total if
patient [exhibited] unacceptable behavior."   

	Dr. Becker, the emergency center-chief, thought that appellant's aggressive behavior
was the result of alcohol consumption rather than head trauma because appellant seemed to
understand, but intentionally disregard, questions, requests, and commands.  Dr. Becker 
ordered a blood-alcohol test at 4:28 a.m., which revealed a serum-alcohol concentration of
0.123, that translated to a blood-alcohol level (BAC) of 0.10.  

	Investigating officers downloaded information from the patrol car's "black box"-a
device that stores data about a car's functions for five seconds prior to air-bag deployment. (2) 
The data showed that appellant was driving 69 m.p.h. four seconds before the collision and
67 m.p.h. one second before the crash.  The posted speed limit was 50 m.p.h.  The patrol car
left skid marks on the pavement, but the black box indicated no brake application, suggesting
that appellant had applied his brakes less than one second before impact.  Deputies also found
two Smirnoff vodka bottle caps in the patrol car. 

	Appellant filed a pretrial motion to suppress the blood-test results and argued  that the
State could not produce retrograde extrapolation testimony. (3)  The trial court denied the motion
to suppress, but said that he intended to admit the BAC-test result with a limiting instruction
until the State offered extrapolation evidence. (4)	

	When the State started to elicit testimony about appellant's BAC-test result during the
trial, the judge discussed his proposed limiting instruction outside the presence of the jury: 

Court: 	I think it's wise to instruct them at the time that it comes in that it is offered for 
limited purposes at this time.  It's certainly admissible on the issue of whether
or not the individual had ingested alcohol. . . and it's in their system.

State: 		I'd prefer just to keep it simple and just to that particular time because I think
things may change.

Court: 	Of course.

State: 		But I'm not going to be able to ask you later on to comment and say, Now
things are changed; now you can use the results. 

Court: 	I want one instruction that they can go with that will fit with the written
instructions that they'll get at the close of trial, that will include the instruction
that says that the State has to prove it beyond a reasonable doubt that alcohol
level was .08 or greater at the time of driving . . . .

State: 		Okay.  So then you'll say at this particular point in the trial, this evidence is for
the -

Court: 	Limited purpose of showing that the individual who was tested had ingested
alcohol at some time prior to the test.

State: 		All right.  With the proviso that the Court is adamant that the jury understands
that it's at this particular time in the trial, that's what it's for.

Court: 	Right.  And say nothing more than that.  Is that acceptable to you all?


All agreed.  When the jury reentered, the judge gave the following limiting instruction: 

	Members of the jury, I'm going to tell you now that the result is off - will be
received by the Court for the limited purpose of showing that the individual
who was tested had ingested alcohol only at some point before the time of the
test.  That is the only purpose that will be offered and the only purpose for
which you should receive it at this time in this trial.


The Ben Taub laboratory supervisor then testified that appellant's BAC level was 0.10 some
eighty minutes after the accident.

	During a hearing on appellant's motion for directed verdict, the trial court expressed
concern about whether there was sufficient evidence to support a charge on the "per se"
definition of intoxication. (5)  Appellant argued that, given the limiting instruction, there was
insufficient evidence to permit a conviction on the per se definition.  The judge denied
appellant's motion and charged the jury on both statutory definitions of intoxication. (6)   

	During closing arguments, the issue of how the jury could consider the BAC-test result
arose again.  Defense counsel stated:

	I hate - I don't want to talk too much on this blood test because . . . the machine
can make mistakes. . . .  And, again, that is still an hour and a half later and
there's no evidence of blood alcohol concentration at the time of driving.  And
you cannot make the leap of faith there. . . . Remember the Judge's limiting
instruction as to when you got that evidence?  You can't go anywhere else.  

In rebuttal, the prosecutor offered a different interpretation:

 	Let's focus on the specifics.  The instruction that you got when [the BAC-test result]
came in, that was given to you to consider that particular evidence at that particular
time in the trial.  That instruction is gone now.


Appellant objected, noting that the trial judge had not withdrawn the oral limiting instruction;
the trial judge agreed, explaining, "It's not in the written instructions, but it is an oral
instruction that the jury is still required to abide by."  The jury returned a general verdict of
guilty. 

	On direct appeal, appellant claimed, inter alia, that the trial judge erred in submitting
jury instructions on the per se definition of intoxication.  He argued that, because the blood-alcohol evidence was admitted with an instruction that permitted the jury to consider the
evidence for the limited purpose of showing that appellant ingested alcohol only at some point
prior to the test, the jury should not have been charged on per se intoxication because there
was insufficient evidence to prove appellant's BAC at the time he drove. (7)  The court of
appeals concluded that the jury charge was proper, although the limiting instruction was not. (8)


II.  


	Under the Texas DWI statute,  intoxication may be proven in either of two ways: (1)
loss of normal use of mental or physical faculties or (2) alcohol concentration in the blood,
breath, or urine of 0.08 or more. (9)  The first definition is the "impairment" theory, while  the
second is the "per se" theory.  They are not mutually exclusive, and, as long as there is
evidence that would support both definitions, both theories are submitted in the jury charge. (10)

	We first address the admissibility and probative value of BAC-test evidence and then
the propriety of the trial court's per se intoxication charge and the limiting instruction. 

A.  	Admissibility of BAC-test results.

1.  The law.  The court of appeals properly analyzed several recent cases in which we held 
that intoxilyzer BAC results were admissible and probative of per se intoxication even without
retrograde extrapolation testimony. (11)  In Stewart v. State, the defendant took an intoxilyzer test
approximately 80 minutes after she had been driving. (12)  The trial court admitted the  result of
0.154 as some evidence that her BAC was over the then legal limit of 0.10 while driving. 
However, the court of appeals reasoned that, by admitting the breath test, the court had
encouraged the jury to "conduct its own retrograde extrapolation and to decide the case based
on facts not in evidence." (13)  It held that the results were irrelevant to show she was intoxicated
at the time she drove. (14)  We reversed and explained, 

	Evidence need not by itself prove or disprove a particular fact to be relevant;
it is sufficient if the evidence provides a small nudge toward proving or
disproving some fact of consequence.  

		The issue here is whether Stewart was intoxicated at the time she drove. 
Stewart's breath test results tended to make it more probable that she was
intoxicated at the time she drove under either definition of intoxication because
they provided evidence that she had consumed alcohol.  And, there is no
evidence that she consumed alcohol after driving. (15)

Although we stated that the test result was not "conclusive" evidence of the defendant's
intoxication at the time she was driving, it was probative and, coupled with the other evidence,
could suffice to prove per se intoxication at the time she was driving. (16) 

	Similarly, in State v. Mechler, the defendant's intoxilyzer-test result indicated a BAC
of 0.165 approximately 90 minutes after he had driven. (17)  Mechler moved to suppress the
result because the State was unable to offer retrograde extrapolation testimony, and the trial
court granted his motion based on Mata v. State. (18)  In Mata, we held that expert extrapolation
testimony is admissible only if certain factors are known, such as "the length of the drinking
spree, the time of the last drink, and the person's weight." (19)  However, in Mechler, we
affirmed the court of appeals's holding that Mata addressed only the admissibility of expert
testimony, not the admissibility of the test results. (20)  We concluded that the BAC results were
admissible in Mechler even without extrapolation testimony because (1) "they tend to make
it more probable that [the defendant] was intoxicated at the time of driving under both the per
se and impairment definitions of intoxication" and (2) their probative value outweighed the

	 risk of unfair prejudice under Rule 403. (21) 

	More recently, in Gigliobianco v. State, (22) we reiterated that the 0.09 and 0.092 BAC
results of two breath tests taken 75 minutes after driving had considerable probative value in
proving both per se and impairment intoxication at the time of driving. (23) 

	The purport of these decisions, taken together, is that BAC-test results, even absent
expert retrograde extrapolation testimony, are often highly probative to prove both per se and
impairment intoxication.  However, a BAC-test result, by itself, is not sufficient to prove
intoxication at the time of driving.  There must be other evidence in the record that would
support an inference that the defendant was intoxicated at the time of driving as well as at the
time of taking the test.  We have explained that,

[t]o be sure, if the State relies upon the [per se] definition of intoxication, then
such proof will normally appear in the form of a chemical test showing the
alcohol concentration in a defendant's body near the time of the offense.
However, a conviction will not necessarily follow from the offer of such a test.
First, the trier of fact must still be convinced beyond a reasonable doubt that
the chemical test provides trustworthy evidence of alcohol concentration in a
defendant's breath, blood or urine.  Second, the jury must still be convinced
beyond a reasonable doubt that an inference can be made from the results of
the chemical test that the defendant had a 0.10 % alcohol concentration in his
body at the time of the offense. (24) 

Other evidence that would logically raise an inference that the defendant was intoxicated at
the time of driving as well as at the time of the BAC test includes, inter alia, erratic driving,
post-driving behavior such as stumbling, swaying, slurring or mumbling words, inability to
perform field sobriety tests or follow directions, bloodshot eyes, any admissions by the
defendant concerning what, when, and how much he had been drinking-in short, any and all
of the usual indicia of intoxication. (25)  

	In sum, the evidence is sufficient to support a jury charge on the "per se" theory of
intoxication if it includes either (1) expert testimony of retrograde extrapolation, or (2) other
evidence of intoxication that would support an inference that the defendant was intoxicated
at the time of driving as well as at the time of taking the test.

2.  In this case, the evidence was sufficient to support a jury charge on the "per se" theory
of intoxication.  Applying the law to this case, we find that appellant's BAC-test result-which
indicated a 0.10 BAC approximately 80 minutes after he drove-was probative and admissible
to prove his BAC level while he drove, even absent extrapolation testimony.  Appellant
attempts to distinguish this case from our prior cases by arguing that, in those cases, there was
other evidence to support an instruction on the per se definition, such as erratic driving,
physical symptoms of intoxication, admission of alcohol consumption by the defendant, and
failed field sobriety tests.  He contends that in this case, there was no such additional
supporting evidence.  The record does not support appellant's contention.  The jury heard
evidence of

	*	appellant's driving almost 20 m.p.h. over the speed limit prior to the accident; 

	*	his failure to see and avoid hitting an 18-wheel tractor-trailer that was turning
a substantial distance ahead of him; 


	*	his failure to brake until less than one second before impact; (26)
 

	*	his unconsciousness immediately after the accident, which precluded any
inference that he drank alcohol and became intoxicated after he was driving;


	*	the odor of alcohol in his blood shortly after the accident; 

	*	the presence of vodka bottle caps (but no bottles) in the patrol car; 

	*	his belligerence at the hospital and other behavior consistent with intoxication;

	*	his "obviously intoxicated" appearance at the emergency room, according to ER
personnel.

Appellant's contention that the jury would have had to rely only on the unextrapolated BAC-test result in support of a per se intoxication conviction is inaccurate.  We conclude that this
evidence, together with the BAC-test result, supported submission of a charge on per se
intoxication and conviction on that theory. 

	Appellant also argues that, because the trial judge admitted the BAC-test result with
a limiting instruction, the jury was precluded from considering the BAC-test result as
probative evidence of per se intoxication.  He contends that "[t]he limiting instruction and the
jury charge were contradictory instructions that were erroneous, when given together, and
confusing." (27)  Appellant is correct that the limiting instruction was confusing, but it did not
prevent the jury from considering whether appellant was "per se" intoxicated at the time he 
was driving.

B.	The limiting instruction.

	Rule 105 of the Texas Rules of Evidence provides that "[w]hen evidence which is
admissible as to one party or for one purpose but not admissible as to another party or for
another purpose is admitted, the court, upon request, shall restrict the evidence to its proper
scope and instruct the jury accordingly." (28)  Thus, when a statute, rule of evidence, or judicial
precedent stipulates that certain evidence may be admissible for a specific, limited purpose,
the jury should be instructed as to that purpose and told not to consider that evidence for any
other, improper, purpose.  There is, however, no Texas statute, rule of evidence, or judicial
precedent that limits the jury's consideration of an otherwise admissible BAC-test result.  Our
decisions in Mata, Stewart, Mechler, and Gigliobianco state the opposite.  A BAC-test result
that is taken within a reasonable period of time after the defendant has been driving and shows
that he was above the legal limit of intoxication at the time of taking the test is
probative-although not conclusive-of per se intoxication at the time of driving.  The BAC test
showing intoxication at the time of the test must be supported by some other evidence that
indicates intoxication at the time of driving as well.  But that judicially imposed requirement
deals with the sufficiency of the evidence, not the admissibility or use of evidence.  Absent
a statute that requires the jury to be instructed about the sufficiency of certain evidence, (29)
jurors are not instructed on such issues or limited in their consideration of evidence otherwise
fully admissible.  "'Texas courts are forbidden from instructing the jury on any presumption
or evidentiary-sufficiency rule that does not have a statutory basis.'" (30)  Such an instruction is
an improper comment on the weight of the evidence. (31)

	In this case, the trial judge instructed the jury that it could consider appellant's BAC-test result "for the limited purpose of showing that the individual tested had ingested alcohol
only at some point before the time of the test."  Obviously, the BAC-test result was relevant
to show that appellant had ingested enough alcohol at some point before the time of the test
to become intoxicated by the time of the test.  But it was also probative to show that he was
intoxicated at the time he was driving, even though it was not sufficient by itself to prove
intoxication at the time of driving.  Thus, the instruction was misleading as well as an
improper comment on the weight of the evidence.

	But the judge's limiting instruction did not prevent the jury from considering the BAC-test result as evidence of his per se intoxication at the time of driving; it told the jury that it 
could be considered probative of alcohol ingestion or intoxication "only at some point before
the time of the test," not necessarily at the time of driving.  In his argument, appellant
contends that the jury could "only consider[] the blood test to establish alcohol
consumption." (32)  That is not what the limiting instruction says. (33)  The word "only" modifies 
the "when" phrase-"at some point before the time of the test"-not the "what" phrase-"had
ingested alcohol."  That is, appellant's argument is premised upon the mistaken belief that the
trial judge's limiting instruction told the jury that it could consider the BAC evidence "for the
limited purpose of showing that the individual tested had only ingested alcohol at some point
before the time of the test."  Appellant mentally misplaced the modifier. (34)  The court of
appeals followed in his wake, and it, too, may have accepted appellant's misreading of the
instruction. (35)  

	Technically, the trial judge's limiting instruction is not legally incorrect: a BAC test
does not tell us when a person became intoxicated or that the person was necessarily
intoxicated at the time of driving.  For that, the jury needs some additional evidence; in this
case, there was ample additional evidence to prove that appellant was per se intoxicated at the
time of the test and at the time he drove.  But the instruction was an improper comment on
the weight of the evidence, and it was misleading because it was susceptible to
misunderstanding.

	In sum, the trial judge properly instructed the jury on the per se intoxication theory
because there was sufficient evidence, in addition to the 0.10 BAC-test result obtained 80
minutes after the accident, to conclude that appellant was per se intoxicated at the time of the
accident.  The trial judge erred in giving any limiting instruction, but that instruction simply
informed the jury that, by itself, the test result did not prove more than that appellant ingested
alcohol (and became intoxicated) "only at some time before the time of the test."  This
instruction was improper and misleading, but it did not prohibit the jury from using the BAC-test result, along with the rest of the evidence, to conclude that appellant was per se
intoxicated at the time he was driving. (36) 

	We therefore affirm the judgment of the court of appeals.


Delivered: February 10, 2010


Publish
1.  Appellant's sole ground for review states,

	The First Court of Appeals erred in permitting a jury charge for per se intoxication
when evidence of appellant's blood alcohol level was admitted pursuant to a
limiting instruction and there was no evidence that appellant was intoxicated per
se at the time he was driving the automobile.
2.  Technically, it is an "event data retrieval module."
3.  See Mata v. State, 46 S.W.3d 902, 908-09 (Tex. Crim. App. 2001) ("Retrograde
extrapolation is the computation back in time of the blood-alcohol level-that is, the estimation of
the level at the time of driving based on a test result from some later time"; noting that a
particular absorption rate depends on a variety of factors, including, inter alia, food in the
stomach, gender, weight, age, amount consumed, and period of consumption).
4.  The colloquy at that hearing was as follows:

State: 		At this point in time, I don't feel that I have sufficient extrapolation facts to
perform the retrograde extrapolation. . . .

Defense:	Without it . . . we move the admissibility of any of the evidence is irrelevant.

Court:  	Well, he's allowed to put in a test result to show that alcohol was somewhat
involved, I believe. . . .

State:  	Judge, both the Stewart and [Mechler] case[s] have been recently decided and all
the evidence shows that alcohol has been ingested and also to show loss of normal
use of mental and physical faculties.

Court:  	[There will] . . . have to be a limiting instruction . . . if it does come into evidence.
So, the Court will give a limiting instruction at the time that's admitted, if it is
admitted.

State:  	Sure.  I don't have any problem with that.  I anticipate the Defense is going to call
witnesses that will give me extrapolation facts.  But I'll certainly approach the
Court before that.
5.  Under Tex. Penal Code § 49.0(2)(B), "'Intoxicated' means: having an alcohol
concentration of 0.08 or more."  This BAC level is measured by a blood, breath, or urine test. 
Concerning the per se definition of intoxication, the trial judge stated,

Court: 	I'm concerned about there being sufficient evidence to support a general verdict if
the test paragraph is in and goes in the application paragraph in the jury
instructions, because there is no evidence of extrapolation back to the time of
driving.  I don't see any evidence at all. . . . I'm concerned - if the jury were to
come back with a guilty verdict, we would not know which paragraph they relied
on.  And on .08 paragraph, I don't see enough evidence on the .08 at this point to
show that he had an .08 at the time [of the offense]. . . .

State: 		I understand what your concern is.  You know, the case law is pretty clear that I
don't have to extrapolate to get the breath test results in or the breath test
paragraph.  So, we've had this hullabaloo in the appellate courts for about four or
five years now, that I believe has been put to rest with Mata and Mechler and
Stewart, that the breath test result comes [in].  We get to submit the entire loss of
normal use and .08 paragraph to the jury.  And they don't have to elect, they just
get to decide the evidence. . . .

Court: 	I just want to be sure of that before we go forward tomorrow, okay?

State: 		Sure.  I'll go and find those.
6.  The pertinent portion of the application paragraph read:

	. . . if you believe from the evidence beyond a reasonable doubt that the Defendant
. . . did while intoxicated, namely, not having the normal use of his mental and
physical faculties due to the introduction of alcohol in to his body, operate a motor
vehicle in a public place; OR

	If you believe from the evidence beyond a reasonable doubt that the Defendant . . .
did while intoxicated, namely, having an alcohol concentration of at least 0.08 in
his blood, operate a motor vehicle in a public place, you will find the Defendant
guilty.
7.  Kirsch v. State, 276 S.W.3d 579, 589 (Tex. App.--Houston [1st Dist.] 2008).
8.  Id. at 591.
9.  Tex. Pen. Code § 49.01(2).
10.  See State v. Mechler, 153 S.W.3d 435, 441 (Tex. Crim. App. 2005) (citing State v.
Mechler, 123 S.W.3d 449, 456 (Tex. App.--Houston [14th Dist.] 2003)).
11.  Kirsch, 276 S.W.3d at 589-91.
12.  Stewart v. State, 129 S.W.3d 93, 95 (Tex. Crim. App. 2004). 
13.  Id. at 96 (citing Stewart v. State, 103 S.W.3d 483, 486 (Tex. App.--San Antonio
2003)).
14.  Id.  
15.  Id. (footnotes omitted).
16.  Id. at 97.  We noted:

		The breath test results were pieces in the evidentiary puzzle for the jury to
consider in determining whether Stewart was intoxicated at the time she drove.
The jury had other evidence to decide that issue, such as the arresting officer's
testimony about Stewart's driving patterns before he pulled her over, the results of
Stewart's field sobriety tests, Stewart's admission to the officer that she had a
couple of beers at the concert, Stewart's statement that she "couldn't do [the field
sobriety tests] sober," the officer's videotape recording these events, and the fact
that the breath tests were conducted an hour and twenty minutes after Stewart's
traffic stop.

Id. ( "The breath test results were properly admitted evidence to consider with all of the other
evidence of intoxication to determine if Stewart was intoxicated at the time she drove.").
17.  153 S.W.3d at 437.
18.  Id. (citing Mata v. State, 46 S.W.3d 902 (Tex. Crim. App. 2001)).
19.  Mata, 46 S.W.3d at 915.  In Mata we explained that experts can, with sufficient
information concerning an individual's weight, age, mental state, drinking pattern, type and
amount of alcohol consumed, amount of food in the stomach, and the time period of alcohol
consumption, reliably estimate that person's BAC at the time of driving.  Id. at 916.  But we also
noted that experts say that the process of alcohol absorption is 'highly variable,' and 'the
limitations and pitfalls associated with retrograde extrapolation are often not appreciated by
laymen and the courts.'"  Id. at 910 (quoting Richard Watkins &amp; Eugene Adler, The Effect of
Food on Alcohol Absorption and Elimination Patterns, 38  J. of Forensic Science 285, 288
(1993)).  Just as I.Q. test results are not an exact measurement of a person's intelligence level, so,
too, the "standard" or "average" extrapolation of BAC-test results back to the time of driving is
not exact unless numerous variables are accounted for.  Like IQ tests, which may be probative of
mental retardation, so may BAC-test results be probative of an ultimate fact such as intoxication
at the time of driving, while not a precise measure of that fact.
20.  Mechler, 153 S.W.3d at 438.
21.  Id. at 440; see also id. at 449 (Cochran, J., concurring) (noting that the relative
probative value of the test depends primarily upon "(1) the degree to which the test result exceeds
the legal limit of 0.08% and (2) the amount of time elapsed between driving and the taking of the
test.  The higher the test result and the shorter the time between driving and testing, the more
likely the logical inference is that the defendant had a BAC level at or above 0.08% at the time of
driving.").
22.  210 S.W.3d 637 (Tex. Crim. App. 2006).
23.  Id. at 642.
24.  Bagheri v. State, 119 S.W.3d 755, 761 (Tex. Crim. App. 2003) (quoting Forte v. State,
707 S.W.2d 89, 94-95 (Tex. Crim. App. 1986) (emphasis in original)).
25.  See Stewart, 129 S.W.3d at 96-97 ("The breath test results-along with Officer
Rodriguez's testimony and the videotape of Stewart-were probative evidence of her intoxication.
The breath test results might not have been conclusive proof that Stewart was intoxicated at the
time that she drove, but that is of no consequence."); Mechler, 153 S.W.3d at 441 ("intoxilyzer
results are evidence of intoxication under both intoxication definitions and the proof under each
definition is not mutually exclusive. . . clearly, a test showing that blood had a .10 alcohol
concentration is probative evidence of a loss of faculties.  Conversely, evidence of his failure to
pass field sobriety tests immediately after driving his vehicle tends to make it more probable that
the failed blood test or breath test taken an hour later accurately reflect the driver's condition at
the time of the offense.") (citing Mechler, 123 S.W.3d at 456).
26.  See Sierra v. State, 280 S.W.3d 250, 256 (Tex. Crim. App. 2009) ("Looking at the
evidence in the light most favorable to the prosecution, a rational fact-finder was permitted to
conclude that Sierra was driving recklessly or dangerously while intoxicated.  There was no
evidence that Sierra attempted to brake before the impact, even though he told Officer Ertons that
he was 247 feet away from the car when he first spotted it.  Based on Sierra's account, the
evidence showed that a normal, undistracted person, who was driving at the thirty-five mile-per-hour speed limit, would have stopped seventy-one feet before the car.  Therefore, Sierra could
have avoided the collision, but he failed to do so, even though he had ample opportunity to stop
before hitting the car.")

27.  Appellant's Brief at 3.
28.  Tex. R. Evid. 105(a). 
29.  See, e.g., Tex. Code Crim. Proc. art. 38.14 (Testimony of Accomplice).
30.  Brown v. State, 122 S.W.3d 794, 799 (Tex. Crim. App. 2003).  We explained: 

	both appellate and trial courts may measure the sufficiency of evidence by resort
to a judicial presumption, but the jury cannot be told of that presumption or rule.
For example, the presumption of an intent to commit theft arises from the
nonconsensual nighttime entry of a home or building.  But an instruction to the
jury on this legal "presumption" is an improper comment on the weight of the
evidence. 

Id. at 800 (footnote omitted). 
31.  Id. at 800.
32.  Appellant's Brief at 7.
33.  From the colloquies quoted in the text and footnote 7, that may have been what the trial
judge intended to say, but that is not what he did say.  And we must presume that the jury
followed the instruction that was actually given.  Colburn v. State, 966 S.W.2d 511, 520 (Tex.
Crim. App. 1998) ("We generally presume the jury follows the trial court's instructions in the
manner presented.").
34.  We are reminded that modifiers, especially those like "only," are tricky little fellows
which are too frequently left dangling or misplaced.  See
http://www.ehow.com/how_2149381_fix-dangling-misplaced-modifiers.html ("Watch out for
words like 'only,' 'almost,' 'even' and 'nearly,' because these modifiers are frequently
misplaced.  Make sure they appear directly before what they describe.  Take a look at this
sentence: 'Annette only ate two cookies.'  The modifier, 'only,' appears before 'ate,' which
suggests that the writer expected Annette to devour, crush or demolish two cookies- not just eat
them.  Logic tells us that the writer intended to clarify the number of cookies Annette ate.  Fixing
a misplaced modifier is easy--just move it before what it modifies: 'Annette ate only two
cookies.'").
35.  See Hirsch, 276 S.W.3d at 591.  But the court of appeals, perhaps aware of appellant's
misunderstanding and misplacement of the modifier, stated, "[t]o the extent that the instruction
said the test could only show appellant ingested alcohol, the instruction was erroneous."  Id.
36.  The State additionally argues that, during its direct examination of a nurse who treated
appellant at the hospital, it offered appellant's medical records-which contained the BAC-test
result-into evidence with no limiting instruction, thereby permitting the jury to consider the
BAC-test result for all purposes.  However, the record does not fully support this position: In a
conference outside the jury's presence before the records were offered, the prosecutor
acknowledged that some of the material contained therein, "like the blood test results," were not
yet admissible. He agreed not to "publish them to the jury at [that] time or mention the blood
results" until the judge had decided the admissibility of the BAC-test result. Thus, when the
prosecutor later offered the records into evidence, the judge admitted them "[s]ubject to the
previous discussion outside the presence of the jury."  The Ben Taub chemist later testified to the
BAC-test results as they were contained in the written report.  It was at this time that the trial
judge gave his limiting instruction.  We think, therefore, that the judge intended that the
admissibility of the written and oral evidence of the BAC-test result be considered together and
that the limiting instruction apply to both.


